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                                                                             May 19, 2023



                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA



 In the Matter of the Creation of the               )
 Calendar                                           )   ORDER OF THE CHIEF JUDGE
                                                    )               23-057
 of                                                 )
                                                    )
 Judge WESLEY L. HSU                                )
                                                    )

        Pursuant to the recommended procedure adopted by the Court for the creation of the

 calendar of Judge Wesley L. Hsu,

        IT IS HEREBY ORDERED that the following cases are hereby transferred from the

 calendar of Judge Otis D. Wright II to the calendar of Judge Wesley L. Hsu:

      2:22-cv-04064-ODW-MAAx            Hugo De Anda v. Ford Motor Company, Inc. et al
      2:22-cv-04119-ODW-AFMx            United States Securities and Exchange
                                        Commission v. Western International Securities,
                                        Inc. et al
      2:22-cv-05990-ODW-AGRx            Liqiang Huang v. Jaddou Ur Mendoza et al
      2:22-cv-07146-ODW-PLAx            Azar Hassanali Zadeh v. Merrick Garland et al
      2:22-cv-07213-ODW-KES             Jesse M Ortiz v. Commissioner of Social Security
      2:22-cv-07292-ODW-JCx             Michele Saywell v. Konica Minolta Business
                                        Solutions U.S.A., Inc.
      2:22-cv-07470-ODW-KSx             Jessica Katz v. Ascential, Inc. et al
      2:22-cv-09366-ODW-PLAx            Sandy Asad v. Dicks Sporting Goods, Inc.
      2:23-cv-00559-ODW-AGRx            Horacio Cruz Amaya v. L.A. Martinez
      2:23-cv-00645-ODW-AFMx            Evan Harris v. FedEx Corporation et al
      2:23-cv-00704-ODW-ASx             Adriana Christine Medina et al v. City of Culver
                                        City et al
      2:23-cv-01680-ODW-AGRx            United African-Asian Abilities Club et al v.
                                        Westland Properties Six LLC et al
      2:23-cv-02776-ODW-SKx             Huo Yanwei v. Ur M. Jaddou et al
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 In the Matter of the
 Creation of Calendar for
 District Judge Wesley L. Hsu                                                          2


      5:22-cv-01497-ODW-JEMx            Martin Huerta v. Highmark, Inc. et al

        On all documents subsequently filed in the case, please substitute the Judge initials

 WLH after the case number in place of the initials of the prior Judge.



 DATED: May 19, 2023
                                                    Chief Judge Philip S. Gutierrez
